Case 4:21-cr-00466

USA-74-24B
(Rev. 05/01)

HOUSTON DIVISION

USAO Number: 2021R07133
Magistrate Number:

’ CRIMINAL INDICTMENT

UNITED STATES of
AMERICA
Vs.

CRIMINAL DOCKET

H 21]

Filed:

ATTORNEYS:

JENNIFER B. LOWERY, USA

Document 2 Filed © on 09/22/21 in TXSD Page 1 of 1

United States Courts
Southern District of Texas
FILED:

SEP 2°2 2021

Nathan Ochsner, Clerk of Court

466
judge: Leif

(713) 567-9000

PROCEEDINGS:

CHARMAINE HOLDER, AUSA (713) 567-9000
a, : Appt'd | Private
VICTOR HERNANDEZ-PEREZ Oy; oO
Oy; oO
Oy} oO
Oy} oO
oO}; Oo
Oy} oO
Charge _ Ct. 1: Illegal Reentry After Deportation, Following Conviction for a Felony Offense [8 USC 88
1326(a) & (b)]
(Total)
(Counts)
(1)
PENALTY: ©
Ct. 1: Not more than 20 years imprisonment; not to exceed 4250, 000 fine ine, 3 years SRT; $100 SA
“hte salt | TDCI NAME & ADDRESS
A212 945 038 815 12th Street of Surety:
. . Huntsville, Texas 77348
Clon Bond
Lno Arrest

